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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

..................................................................... X
WANDA TIMl\/IS ` 3 lndex No.i
Plaintiffs, f COMPLAINT
1 AND
3 JURY DEMAND
~ against ~ f
CITIBANK, N.A. f
Defendant. 3 `

..................................................................... X

Plaintiff WANDA TIMMS, by her attorneys, CAMBA Legal Services, lnc. and
Brornberg LaW foice, P.C., as and for their complaint against Defendant

CITIBANK, N.A. (“Citibank”), allege as followsf

PRELIMINARY STATEMENT

1. Plaintiff, Wanda Tinims (“Plaintiff” or “l\/ls. Timrns”) brings this civil
action against Defendant Citibank, N.A. (“Defendant” or “Citibank”), a national
bank, for its failure to conduct a good faith investigation of Plaintiff s dispute of
fraudulent and unauthorized transactions on her Citibank account, limit Plaintiffs 4
liability for the fraudulent and unauthorized transactions in accordance With
applicable laws and regulations, provide Plaintiff With copies of all documents that

Citibank relied on to conclude that there Was no error or fraud, and for other

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misconduct, in violation of the Electronic Fund Transfer Act, 15 U.S.C. § 1963 et
seq., and the rules and regulations thereunder; NeW York General Business Law §
349; and state common lavv. As a result of Defendant’s failure to comply With its
legal obligations, Plaintiff lost thousands of dollars.

2. Plaintiff seeks damages, along With injunctive relief, reasonable costs
and attorney’s fees.

PARTIES

3,. l\/ls. Timms, the Plaintiff, is 31 years of age and resides at 287 Webster
Avenue, Apt. 2D, Brool<lyn, NY 11230. Until recently l\/ls. Timms’ sole sources of
income Was Social Security Disability (“SSD”) and Supplemental Security lncome
(“SSI”). Cornbined, l\/ls. Timms received approximately $85().00 per month. While on
SSl and SSD Ms. Timms Was able to put herself through both college and graduate
school, recently graduating from the New School.

4. l\/.[s. Timms is a “consurner”, as the term is defined by 15 U.S.C. §
1693a(6) of the EFTA and Regulation E, 12 C.F.R. § 205.2, because she is a natural
person Who has an account held by a financial institution and Who Was issued an
access device by that financial institution and entered into an agreement for the
provision of electronic fund transfer services With that financial institution

5. Defendant, Citibank, is a national banking association With branches
all around the Nevv York metropolitan area, including a branch at 885 Flatbush

Avenue, Brooklyn, NY 11226.

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6. Citibank is a “financial institution”, as the term is defined by 15 U.S.C.
§ 1693a(9) of the EFTA and Regulation E, 12 C.F.R. § 205.2(i) because it is a
national bank and directly or indirectly holds an account belonging to a consumer or
issues an access device and agrees With a consumer to provide electronic fund

transfer services

JURISDICTION AND VENUE

7. This action arises under the Electronic Fund Transfer Act, 15 U.S.C.
§1693 et seq., (“EFTA”) and the rules and regulations thereunder Title 15 U.S.C. §
1693m(g) provides that civil actions brought under the EFTA may be commenced in
any United States District Court Without regard to the amount in controversy The
district courts have supplemental jurisdiction over Ms. Timms NeW York State
common law and statutory claims because they are “so related to claims in the
action Within such original jurisdiction that they form part of the same case or
controversy.” See 28 U.S.C. § 1867('<1).

8. Citibank does business at its branch located at 885 Flatbush Avenue,
Brooklyn NY, 11226, in the Eastern District of Nevv York, and, accordingly, venue is

proper in this district pursuant to 28 U.S.C. § 1391(0).

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FACTS

THEACCUUNT’S HISTQRK

9. l\/ls. Timms is a 31 year old African American Woman Who lives in
Borough Park, in Brooklyn.

10. l\/ls. Timms opened the Citibank account in question about 6 years
prior to the fraudulent activity While she Was in college. Ms. Timms opened the
account so she could have her Social Security directly deposited and to pay bills.

11. At no point did Ms. Timms lose or misplace her ATl\/l card nor did she
lose, misplace or share their personal identification information or access codes.

12. Beginning in late March of 2017, an unknown fraudster began
Withdravving money from l\/ls. Timms’ account taking money from her Social
Security and her tax refund Shortly after that a number mobile deposits Were
made to l\/ls. Timms account. 'l`hese deposits Were based on past checks that Ms.
Timms previously deposited in her account many months prior. During this time a
$600.00 fraudulent check Was also deposited in Ms. Timms account at a Citibank
branch.

13. The following transactions and balances Were recorded on the

plaintiffs Citibank checking account from l\/larch 20,2017 to March 28, 2017i

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ijms Cl'tjbaz:)k checking account (cndjng' 1'11 8150 ) Fraudu]ent Transactjon

Summary Marc./z 20, 201 7 T];)rou,Q;/i Marc]? 2<5’, 201 7

 

     
          

   

 

 

  

 

 

 

 

g l credits , -_De`bits ~ ""ATM`Locationz:l`[`)" *Descri
Fraudulent

3/20/ 17 $0.00 $82.00 13 Newkirk Plaza ATl\/_l Withdrawal
Fraudulent

3/21/ 17 $0.00 $82.00 13 Newkirk Plaza ATl\/l Withdrawal
Fraudulent

3/23/ 17 $0.00 $62.00 13 Newkirk Plaza ATl\/l Withdrawal
Fraudulent
3/27/17 $0.00 $82.00 13 Newkirk Plaza ATM Withdrawal
Fraudulent

3/28/ 17 $().OO $82.0() 13 Newkirk Plaza ATM Withdrawal

 

 

 

 

 

 

 

14. As indicated above, on l\/larch 20, 20177 an unknown fraudster
executed series of fraudulent transactions, without the knowledge or consent of l\/ls.
Timms. The fraudster withdrew money from l\/ls. Timms checking account via five
withdrawals from an ATl\/.l at 13 Newkirk Plaza.

15. l\/ls. Timms learned of the fraud and made her first fraud dispute to
Citibank on or around l\/Iarch 28, 2017 by calling Citibank and informing them of
the fraud. At this time, l\/ls. Timms worried about more fraud, and requested a new
debit card. This card was provided to l\/ls. Timrns.

16. A few days later, on April 4, 2017 additional fraud began on l\/.[s.
Timms’ account ln addition to new unauthorized withdrawals, a number of mobile
deposits were posted to Ms. Timms’ account These deposits looked like prior

legitimate deposits that l\/ls. Timms had made months prior. ln addition a

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fraudulent check was deposited at a Citibank branch in the amount of $600.00.
These illegitimate deposits were accompanied by more unauthorized withdrawals,
many from multiple ATl\/ls on the same day and some using the same ATl\/l multiple
times

17 . This fraud took almost all of l\/ls. Timms money from her, and resulted
in the imposition of numerous bank fees, additionally the fraud caused Ms. Timms
account to become overdrawn and Citibank closed the account

18. These fraudulent transactions are summarized below.

Tlnnns Cl'tjbank checking account (cn a’l'ng in 8150) Fz“a adulan Transactjon

Sulnmarv Az)rj] 4, 201 7 T}n“cug]? Anrl'] 1<5’, 201 7

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

'~Dfate~i:;:f;~~r.}~ ~Credits~ ~ ~ _ Debits _ ATM:Location~ -
911 Coney leland Avenue Fraudulent
4/4/17 $0.00 $101.00 ATl\/l Withdrawal
911 Coney lsland Avenue Fraudulent
4/5/17 $0.00 35()`1.85 ATl\/l Withdrawal
911 Coney lsland Avenue Fraudulent
4/5/ 17 $0.00 $61.85 ATl\/l Withdrawal
l\/lobile Deposit Already Fraudulent
4/7/17 $191.28 $0.00 Deposited l\/lonths Prior Deposit
Mobile Deposit Already Fraudulent
4/7/17 $318.82 $0.00 Deposited l\/.[onths Prior Deposit
880 Coney lsland Avenue Fraudulent
4/7/ 17 $0_00 $160.00 ATl\/l Withdrawal
4/7/17 $0.00 $200.00 Fraudulent

 

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880 Coney lsland Avenue Withdrawal
ATl\/I
l\/lobile Deposit Already Fraudulent
4/10/17 $191.28 $0.00 Deposited l\/_[onths Prior Deposit
l\/lobile Deposit Already Fraudulent
4/10/17 $255.05 $0.00 Deposited l\/lonths Prior Deposit
Fraudulent
4/10/17 $0.00 $182.00 13 Newkirk Plaza Withdrawal
Fraudulent
4/10/17 $0.00 $202.00 Akstar lnc. Withdrawal
l\/lobile Deposit Already Fraudulent
4/11/2017 $255.05 $0.00 Deposited l\/lonths Prior Deposit
Fraudulent
4/11/2017 $0.00 362.00 Akshar lnc Withdrawal
911 Coney lsland Avenue Fraudulent
4/1 1/2017 $0.00 3101.85 A’l`l\/l Withdrawal
Fraudulent
4/1 1/2017 $0.00 $202.00 Akshar lnc. Withdrawal
~ l\/lobile Deposit Already Fraudulent
4/12/2017 $191.28 330.00 Deposited l\/lonths Prior Deposit
Fraudulent Check
Deposited at a Citibank Fraudulent
4/13/2017 $600.00 0.00 Branch Deposit
l\/lobile Deposit Already Fraudulent
4/14/2017 $191.28 $0.00 Deposited l\/lonths Prior Deposit
l\/lobile Deposit Already Fraudulent
4/17/2017 $191.28 $0.00 Deposited l\/lonths Prior Deposit
l\/lobile Deposit Already Fraudulent
4/17/2017 $191.28 $0.00 Deposited Months Prior Deposit
Mobile Deposit Already Fraudulent
4/17/2017 $191.28 $0.00 Deposited l\/lonths Prior Deposit

 

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l\/Iobile Deposit Already Fraudulent

 

 

4/17/2017 $191.28 $0.00 Deposited l\/lonths Prior Deposit
Fraudulent

4/17/2017 $0.00 $102.00 1503 Newkirk Avenue Withdrawal
Fraudulent

4/17/2017 $0.00 $201.85 911 Coney lsland Avenue Withdrawal

 

l\/lobile Deposit Already Fraudulent

 

 

4/18/2017 $191.28 $0.00 Deposited l\/ionths Prior Deposit
Fraudulent
4/18/2017 $0.00 3181.85 911 Coney lsland Avenue Withdrawal

 

 

 

 

 

 

MS. TMIS’ FRA UD DISPUTES, PoLIcE REPOR?; ANDDEFENDANTZS

CQRRESPQNDING RESPQNSES

19. The First F`raud Dispute. On or around l\/larch 28, 2017 , l\/ls. Timms
discover the unauthorized withdrawals from her account. When she discovered
these withdrawals she immediately called Citibank to cancel her card and protect
her account When she spoke to Citibank on the phone she disputed the fraudulent
charges

20. The Second Fraud Dispute. l\/ls. Timms received a new card but did not
re'set up the Citibank app for her phone. When l\/ls. Timms did this a few weeks
later she discovered a new set of fraudulent transactions on her account. As
discussed above, these fraudulent transactions were much more extensive and

included multiple withdrawals, unauthorized unexplainable deposits, and a

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fraudulent check. When l\/ls. Timms discovered these transactions she called the
bank again and they again cancelled the card. A few days later, panicked and
concerned about paying her rent and other bills l\/.[s. Timms when to a Citibank
branch for help. l\/ls. Timms spoke to a Citibank representative who told her to file
a police report

21. T]ze Po]jce Report. On l\/lay 1, 2017 l\/ls. Timms filed a police report
with the 70th Precinct. ln that report, l\/ls. Timms detailed the same fraudulent
activity that is described in detail above. Ms. Timms also spoke with a police officer
named “Darryl” who gave her his card. l\/ls. Timms has made multiple attempts to
follow'up with “Darryl” and help the investigation any way she can but the number

on the officers card is not in service.

22. thjban]{fs listich jn Response to the Fl'z‘szf Dispute. ln response to her
l\/ls. Tiiiiins first dispute Citibank sent l\/ls. ”l`imms two letters, a letter l\/larch 29,
2017 acknowledging her dispute and a letter dated April 11, 2017 rejecting her
claim. The basis of Citibank’s rejection was that l\/ls. Timms card was not out of her
possession, that a pin was required, and that the account activity was consistent

with normal banking activities

23. The first two reasons for rejection Ms. Timms’ fraud dispute; that the
card was in l\/ls. 'l`imins possession and a PIN was used are not an appropriate basis

for the rejection of a fraud claim. The Office of Comptroller of Currency (“OCC”) has

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made this clear in its 2014c compliance handbook for the Electronic Fund Transfer
Act. https!//www.occ.gov/publications/publications'bv'tvpe/comptrollers'
handbook/electronic'fund'transfer'act/pub'ch'efta.pdf. Highlighting that
institutions cannot reject claims based on these facts because fraudulent means like
“shoulder surfing” that allow fraudsters to obtain this information The OCC is
explicit, “Therefore, institutions cannot assume that they have satisfied their duty
to investigate simply by concluding that the customer’s debit card and PIN were

used in the transaction at issue.” at page 25.

24. sz,‘jbankis Lel,‘ters jn Rcsponse to the Second Dispute. Like the first
dispute, Citibank’s response to the second dispute was to reject l\/ls. Timms claim.
Citibank again relied on the same form letter stating that the claim was rejected
because the card was not out of l\/ls. Timms possession, a PIN was used, and the

activity was consistent with normal banking activities

25. Citibank again rested it decision on these factors even though the first
two are no the proper basis of a denial and the third, that the banking activity is
“normal” is untrue as it is not normal to make multiple consecutive ATl\/l withdraws

one after the other.

26. MS. Tjnzms ‘C'ontlnuedDjsputeS. l\/ls. Timms continued to try to get

Citibank to reverse the fraudulent transactions so she could put her life back

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together ln l\/lay 2017, l\/ls. Timms made number of calls to Citibank’s billing

department to try to figure out what was going on.

27. Gn or around l\/l.ay 23, 2017, at Citibank’s request, l\/ls. Timms sent
Citibank a detailed letter explaining the fraud This letter included a breakdown of

all the fraudulent transactions and a narrative description of what occurred

28. The letter also gave information about the police report but did not
include the report because the New York Police Department told l\/ls. Timms there
was a charge for the report, which l\/ls. Timms could not pay because her account

was closed.

29. Citibank did not substantively respond to l\/ls. Timms letter so l\/ls.
Timms sought help from Housing Works, a nonprofit l\/ls. Timms had received
services from in the past. Geoffrey Wertime, an attorney at Housing Works drafted
a letter on l\/ls. Timms behalf on June 7, 2017. This letter again explained the fraud
in detail, included the police report, and requested Citibank perform a proper

investigation

30. lt does not appear Citibank responded to this letter.

31. Finally, in September of 2017 , l\/ls. Timms send a letter to Citibank
explaining the fraud and requesting that Citibank reinvestigate and provide her

with the documents that were the basis of the bank’s decision This letter was sent

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certified mail return receipt requested and, like the prior letters received no

response

32. Citibank’s action took a large emotional toll on l\/ls. Timms. This all
occurred during l\/ls. Timms’ graduation from graduate school, the culmination of
years of very hard work rising from tough circumstances to receive an advanced
degree. lnstead, of celebrating, l\/ls. Timms, was preoccupied with getting her
money back and worrying about paying her rent and other bills This caused Ms.
Timms to lose sleep, and suffer from high anxiety, during this time l\/ls. Timms was

depressed and worried about what would happen next.

LEGAL FRAMEWORK

33. Plaintiff has causes of action under the Electronic Funds Transfer Act

and the rules and regulations thereunder and New York State common law.
ELEcTRcNIc FUND TRANSFERACT

34. The Electronic Fund Transfer Act of 1978, 15 U.S.C. § 1693 et seq., is
intended to protect individual consumers engaging in electronic fund transfers See
§ 1693(b) (“The primary objective of this subchapter l...l is the provision of
individual consumer rights.”)

35. An “unauthorized electronic fund transfer” is defined in the EFTA as

“an electronic fund transfer from a consumer’s account initiated by a person other

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than the consumer without actual authority to initiate such transfer and from
which the consumer receives no benefit”, § 1693a(12), except for an electronic
transfer “(A) initiated by a person other than the consumer who was furnished with
the card, code, or other means of access to such consumer’s account by such
consumer, unless the consumer has notified the financial institution involved that
transfers by such other person are no longer authorized, (B) initiated with
fraudulent intent by the consumer or any person acting in concert with the
consumer, or (C) which constitutes an error committed by a financial institution.”
[d.

36. In regard to the EFTA, the term “unauthorized electronic fund
transfer” includes a transfer which is initiated by someone who obtained the access
devise from the consumer through fraud or robbery 12 C.F.R. § 205.2(m), Supp. l
(Official Staff lnterpretation on §205.2(m)(3), (4).

37 . An “access device” is defined in the EFTA as “a card, code, or other
means of access to a consumer’s account, or any combination thereof, that may be
used by the consumer to initiate electronic fund transfers.” 12 C.F.R. § 205.2(a)(1>.

38. An “access device” becomes and “accepted access device” when the
consumer “Requests and receives or signs, or uses (or authorizes another to use)
the access device to transfer money between accounts or to obtain money property,

or services [...l”. 12 C.F.R. § 205.2(a)(2)(i).

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39. A financial institution is required to investigate consumers claims of
error, determine whether an error has occurred, and report or mail the results of
such investigation and determination to the consumer within ten days 15 U.S.C. §
1693f(a).

40. If a bank decides to deny a claim of error, it must explain its findings
and, upon the consumers request, provide the consumer with copies of the
documents it relied upon in its investigation to conclude that an error did not occur.
15 U.S.c. § isaaf(d>; 12 o.F.R. § 205.11(d).

41. If a consumer reports to her bank that an unauthorized electronic
funds transfer has occurred through use of a bank debit card, the consumer’s
liability for the unauthorized transfer is limited to 350 if it is reported to the bank
within two business days after the consumer learns of the loss 15 USC § 1693g(a).

42. Under the EFTA, a consumer has no liability when an unauthorized
transfer appears on the consumer’s monthly statement and is reported by the
consumer to the financial institution within sixty days or when an unauthorized
transfer does not involve an accepted access device or when the financial institution
has not provided a means to identify the consumerl 12 C.F.R. § 205.6(b)(3).

43. The federal regulations promulgated pursuant to EFTA § 1693b are
found in Part 205 of Subchapter A of Chapter ll of Title 12 of the Code of Federal
Regulations and are known as “Regulation E”. See 12 C.F.R. § 205.1(a). rl`he stated

purpose of these federal regulations is to carry out the purposes of the EFTA, the

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primary objective of which “is the protection of individual consumers engaging in
electronic fund transfers.” 12 C.F.R. § 205.1(b).

44. Consumers may recover actual damages under the EFTA, 15 U.S.C. §
1693m(a)(1), plus an additional sum of from $100 to $1000, § 1693m(a)(2)(A), plus
the costs of the action and a reasonable attorney’s fee, § 1693m(a)(3). Treble
damages may also be awarded if the court finds that a financial institution “did not
have a reasonable basis for believing that the consumer’s account is not in error.” §

1693£(€)_

FIRST CLAll\/l FUR RELIEF
(Electronic Fund Transfer Act, 15 U.S.C. § 1693 et seq.)

45. Plaintiff repeats and re~alleges each and every allegation contained in
the foregoing paragraphs with the same force and effect as though fully set forth
herein..

46. This claim arises under the Electronic Fund Transfer Act (EFTA) and
Regulation E because it relates to unauthorized and fraudulent electronic transfers

¢17.4 Defendant violated the EFTA and Regulation E. Defendant’s
violations include, but are not limited tof failing to conduct an investigation of l\/ls.
Timms’ claims of error; failing to provide Ms. ’l`imms with an explanation for
Defendant’s denial of plaintiffs fraud claims§ failing to return improperly withheld
account funds associated with plaintiffs fraud claims,§ and, failing to provide l\/ls.

Timms with documentation regarding Defendant’s denial of plaintiffs fraud claims,

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even after 'l‘imms’ requested the same. These actions are in violation of 15 U.S.C.
§§ issaf, 1693g and 12 o.F.R. §§ 205.6, 205.11.

48. As a direct and proximate result of l)efendant’s violations of EFTA and
Regulation E, Plaintiff has sustained actual damages equal to at least $2,283.10,
plus such other damages as may be determined by the court Ms. Timms is entitled
to recover actual damages under the EFTA, § 1693m(a)(1), plus an additional sum
of from $100 to $1000, 15 U.S.C. § 1693m(a>(2)(A), plus the costs of the action and a
reasonable attorney’s fee, § 1093m(a)(3).

49. As a direct and proximate result of Defendant’s violations of EFTA and
Regulation E, Plaintiff suffered compensable harm, including actual damages and
emotional distress

50. Because Citibank lacked a reasonable basis for denying l\/ls. Timms
fraud claims, l\/ls. Timms is also entitled to recover treble damages which amount

to at least $1,349.85. See § 1093f(el.

SECOND CLAIM FOR RELIEF
(N.Y. Gen. Bus. Law § 349)

51. Plaintiff repeats and re'alleges each and every allegation contained in
the foregoing paragraphs with the same force and effect as though fully set forth

herein.

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52. New York prohibits “deceptive acts or practices in the conduct of any
business, trade or commerce or in the furnishing of any service in this state [...l”
N.Y. Gen. Bus. Law § 349(a).

53. An individual “injured by reason of any violation of this section may
bring an action in his own name to enjoin such unlawful act or practice, an action to
recover his actual damages or fifty dollars, whichever is greater, or both such
actions.” N.Y. Gen Bus. Law § 349(h).

54. Defendant violated § 349 of the New York General Business Law by
using deceptive acts and practices in the conduct of its business

55. Defendant’s violations include, but are not limited to, telling l\/ls.
’l`imms that Citibank would investigate her fraud claims and then failing to conduct
a thorough investigation

56. Defendant’s conduct has a broad impact on consumers at large.

57. Upon information and belief, Defendant’s conduct is directed toward
consumers at large.

58. Upon information and belief, Defendant has a pattern and practice of
rejecting claims of unauthorized transactions because the customer’s ATl\/l card or
debit card and Pll\l were used in the transaction Relying on such facts is
insufficient to establish that a transaction was authorized because fraudulent

means may have been used to obtain the customer’s account number, card, or PlN.

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59. As a direct and proximate result of Defendant’s violations of N.Y. Gen.
Bus. Law § 349, lVls. Timms has sustained actual damages amounting to at least
$2,283.00 - representing fraudulent and unauthorized A'l`l\/l withdrawals and
charges levied by Citibank - plus such other damages as may be determined by the
Court. l\/ls. Timms is also entitled to receive treble damages injunctive relief,

punitive damages, attorney’s fees and costs N.Y. Gen. Bus Law § 349(h).

THlRD CLAll\/l FOR RELlEF
(Unjust Enrichment)

60. Plaintiffs repeat and re~allege each and every allegation contained in
the foregoing paragraphs with the same force and effect as though fully set forth
herein

61. Defendant has been unjustly enriched and benefited from the
inequitable acts alleged in this Complaint, by its failure to exempt l\/ls. Timms from
liability for fraudulent and unauthorized activity on their account

62. Defendant has reaped profits and revenues resulting from its unlawful
conduct

63. lt would be inequitable to allow Defendant to retain any of the
proceeds derived from its unlawful conduct

64. Defendant should be compelled to disgorge all proceeds received by it
for the unlawful acts described in this Complaint which have inured and continue to

inure to its unjust enrichment

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FOURTH CLAIM FOR RELIEF
(Breach of Contract regarding Plaintiffs’ Citibank’s bank account agreement)

65. Plaintiff repeats and re'alleges each and every allegation contained in
the foregoing paragraphs with the same force and effect as though fully set forth
herein

66. Upon information and belief, Defendant entered into a standard bank
account agreement with l\/ls. Timms that governed the terms of their bank account

67. Upon information and belief, the bank account agreement included a
similar guarantee that consumers will not be held liable for fraudulent transfers
and withdrawals made by others using their account

68. Upon information and belief, Defendant breached this contract by
holding l\/ls. Timms liable for the fraudulent transfers and withdrawals made by an
unknown thief or thieves using her bank account

69. As a result of Defendant’s unlawful actions, Plaintiff incurred damages
in an amount to be determined at trial, plus such other damages as may be
determined by the court

70. Defendant has reaped profits and revenues resulting from its unlawful
conduct

71. lt would be inequitable to allow Defendant to retain any of the

proceeds derived from its unlawful conduct

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72. Defendant should be compelled to disgorge all proceeds received by it
for the unlawful acts described in this Complaint which have inured and continue to

inure to its unjust enrichment

FlFTH CLAll\/l FOR RELIEF
<Breach of Duty of Good Faith and F air Dealing)

7 3. Plaintiffs repeat and re'allege each and every allegation contained in
the foregoing paragraphs with the same force and effect as though fully set forth
herein

74. Section 1'203 of New York State’s Uniform Commercial Code imposes
an obligation of good faith in the performance of any contract

75. Section 4'103 of New York State’s Uniform Commercial Code further
states that no bank may disclaim responsibility for its own lack of good faith or
failure to exercise ordinary care in the performance of its obligations

76. Furthermore, New York law provides that all contracts contain an
implied covenant of good faith and fair dealing in the course of performance

7 7. Defendant breached this duty, and indeed acted in bad faith, by
holding Plaintiffs liable for the fraudulent and unauthorized ATl\/l deposits, ATl\/l
withdrawals and overdrafts on l\/ls. Timms’ account

78. As a result of Defendant’s breach of the duty of good faith and fair

dealing, Plaintiffs are entitled to damages in an amount to be determined at trial.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Courtf

1.

Enter judgment for Plaintiff on all causes of action;

Enter an injunction requiring Defendant to comply with the Electronic

Fund Transfer Act and to train its employees accordingly;

Enter an injunction requiring Defendant to cease and desist from
pursuing negative action, including the charging of fees, collection
activities, and negative reporting to consumer reporting agencies, as a
result of its own failures to comply with the Electronic Fund 'l`ransfer

Act and its own account agreements;

Award actual, statutory, consequential, and punitive damages to the

Plaintiffs;

Award reasonable attorney’s fees and costs to the Plaintiffs§ and,

Award such other and further relief as may be just, equitable, and

proper.

JURY DEMAND

Plaintiff respectfully requests a trial by jury.

Datedf Brooklyn, New York

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l\/larch 16, 2018

Respectfully submitted,

 

Byl l\/latthew Schedler
One of Plaintiff’ s Attorneys

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Uf Cozznse] to

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